                              No. 23-2249, 23-2324


         United States Court of Appeals
             for the Eighth Circuit
          Continental Resources, Inc., an Oklahoma Corporation,
                            Plaintiff-Appellee,
                                       v.
          North Dakota Board of University and School of Lands,
                          Defendant-Appellee,
                                       and
                            United States of America,
                              Defendant-Appellant.

     APPEAL FROM DECISION OF THE UNITED STATES DISTRICT
          COURT FOR THE DISTRICT OF NORTH DAKOTA
                    (1:17-CV-14-DLH-CRH)

  NORTH DAKOTA BOARD OF UNIVERSITY AND SCHOOL LANDS’
  UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL OF CROSS-
                       APPEAL

                              State of North Dakota
                                Drew H. Wrigley
                                Attorney General
By: Philip Axt (ND Bar No. 09585)            Charles Carvell (ND Bar No. 03560)
    Solicitor General                        Special Assistant Attorney General
    Email: pjaxt@nd.gov                      Email: cmc@pearce-durick.com
    Office of Attorney General               Pearce Durick PLLC
    600 E. Boulevard Ave., Dept. 125         314 E. Thayer Ave., PO Box 400
    Bismarck, ND 58505                       Bismarck, ND 58502
    Telephone: (701) 328-2210                Telephone: (701) 223-2890

                       Counsel for Defendant-Appellee



  Appellate Case: 23-2249    Page: 1   Date Filed: 11/03/2023 Entry ID: 5332693
      Pursuant to Federal Rule of Appellate Procedure 42(b)(2), the North Dakota

Board of University and School Lands moves to dismiss its cross-appeal in the

above-captioned appeal, with each party responsible for its own costs.         The

undersigned has conferred with counsel for the United States and counsel for

Continental Resources, and neither party opposes this motion.

Dated: November 03, 2023.
                                State of North Dakota
                                Drew H. Wrigley
                                Attorney General
                                 By: /s/ Philip Axt
                                     Philip Axt (ND Bar No. 09585)
                                     Solicitor General
                                     Email: pjaxt@nd.gov
                                       Office of Attorney General
                                       600 E. Boulevard Ave., Dept. 125
                                       Bismarck, ND 58505
                                       Telephone: (701) 328-2210

                                       Charles Carvell (ND Bar No. 03560)
                                       Special Assistant Attorney General
                                       Email: cmc@pearce-durick.com
                                       Pearce Durick PLLC
                                       314 E. Thayer Ave., PO Box 400
                                       Bismarck, ND 58502
                                       Telephone: (701) 223-2890
                                Counsel for Defendant-Appellee




   Appellate Case: 23-2249   Page: 2    Date Filed: 11/03/2023 Entry ID: 5332693
                           CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g) and Eighth Circuit Rule

28A(h)(2), the undersigned certifies that the following document:

   NORTH DAKOTA BOARD OF UNIVERSITY AND SCHOOL LANDS’
 UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL OF CROSS-APPEAL

contains 55 words, was prepared in a proportionally spaced typeface using Times New

Roman 14-point font, has been scanned for viruses, and is virus-free.

Dated: November 03, 2023.


                                             /s/ Philip Axt
                                             Philip Axt




    Appellate Case: 23-2249   Page: 3    Date Filed: 11/03/2023 Entry ID: 5332693
                         CERTIFICATE OF SERVICE

      The undersigned certifies that the following document:

   NORTH DAKOTA BOARD OF UNIVERSITY AND SCHOOL LANDS’
 UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL OF CROSS-APPEAL

was electronically filed with the Clerk of the Court for the United States Court of

Appeals for the Eighth Circuit by using the appellate CM/ECF system, that all

participants in the case are registered CM/ECF users, and that service will be

accomplished by the appellate CM/ECF system.

Dated: November 03, 2023.


                                            /s/ Philip Axt
                                            Philip Axt




    Appellate Case: 23-2249   Page: 4   Date Filed: 11/03/2023 Entry ID: 5332693
